Case 2:18-cv-03549-GRB-ST Document 39-21 Filed 03/01/19 Page 1 of 7 PageID #: 624




                              EXHIBIT U
Sent:      Tue, 17 Jun 2014 15:27:16 -0400 (EDT)
From:       Case 2:18-cv-03549-GRB-ST Document 39-21 Filed 03/01/19 Page 2 of 7 PageID #: 625
           noreply@townofislip-ny.gov
To:        daniel.altschuler@maketheroad.org
Subject:   Roberto Clemente Park Update #4

                  Daniel Altschuler:




                  ROBERTO CLEMENTE PARK UPDATE #4
                  Dear Resident,

                  The Town remains committed to communicating with you directly to keep
                  you updated about the status of Roberto Clemente Park, as the criminal
                  investigation conducted by the Suffolk County District Attorney’s office,
                  and the Town of Islip’s own internal review, continues. We thank you for
                  your patience during this time.

                  AIR TESTING

                  Results from the SIXTH week of air samples collected along the
                  perimeter of Clemente Park have revealed that there is no presence of
                  asbestos in the air. Air sampling began immediately after the discovery
                  that contaminants and construction debris had been illegally placed at the
                  park. Air sampling has been conducted under a variety of weather
                  conditions and every test taken over the last six weeks has shown that
                  there is no asbestos in the air.

                  HEALTH CONCERNS

                  The Town has been and will continue to be in regular communication with
                  Suffolk County Health Department to determine any concerns to public
                  health. Residents should call the Health Department directly at 631-787-
                  2200, or visit www.suffolkcountyny.gov for additional information
                  about asbestos-related or other public health questions.

                  CLEANING UP THE PARK

                  After learning from the DA about other hazardous contaminants also
                  illegally placed in Roberto Clemente, the Town Board immediately took
                  action to enable the swift remediation of the park, as well as
                  reconstruction of the fields. A $6 million bond resolution was unanimously
                  approved by the board that will help fund remediation. Additional
                  amendments to our legislation may be necessary once an approved clean-
                  up plan is completed. Enviroscience, an independent environmental
      consultant, will continue
Case 2:18-cv-03549-GRB-ST       to assist
                             Document     the Filed
                                      39-21   Town03/01/19
                                                    each step of the
                                                            Page 3 of way. For #:
                                                                      7 PageID the626
      past five weeks, the Town has communicated rapidly and consistently
      with the New York State Department of Environmental Conservation, New
      York State Department of Health, the New York State Department of
      Labor, Suffolk County Department of Health, and with Suffolk County
      Water Authority, and we will continue to hold regular meetings with these
      regulatory agencies as we work to develop a strategy to quickly remove
      material and get Roberto Clemente Park safely opened again.

      A rough estimate of a cleanup timeline is as follows:

      45 days for development of a remedial action plan by Enviroscience (30
      days left for completion of this deadline) 4 weeks to receive plan approval
      from NYSDEC, NYSDOL, with comments and recommendations from NYS
      and Suffolk County Departments of Health, and Suffolk County Water
      Authority 3-4 weeks to secure contractor(s) who can remove material
      safely and responsibly, pursuant to the approved plan, from the park to
      appropriate disposal sites 4 months to complete removal of all illegally-
      dumped materials from the park. This time period will end approximately
      by January 1, 2015.

      REBUILDING THE PARK

      As promised, the Town will focus on the replacement of the soccer fields
      at Clemente, after all necessary clean up is completed. Simultaneously,
      the Town will return to its original plans to rehabilitate the pool and
      filtration system at Clemente, as was planned for this summer. The Town
      remains committed to improving Roberto Clemente pools and park.
      Nearly $2 million in funds have been earmarked for this project, and will
      remain dedicated to the rehabilitation of the pool and its filtration
      system.

      PROVIDING RECREATION ALTERNATIVES FOR FAMILIES IN
      BRENTWOOD WHILE PARK IS CLOSED

      The Town remains committed to returning Roberto Clemente Park to the
      people of Brentwood, in a safe and responsible manner and we recognize
      the recreation inconveniences as the park remains closed this summer.
      We have worked quickly with Town employees, the Brentwood School
      District, community leaders, and non-profit youth organization to devise
      a well-rounded plan that offers residents of all ages, the fun and safe
      summer activities that they rightfully deserve. This program includes free
      transportation for Brentwood families to pools, parks and youth
      programs, reduced fees for pools, meal opportunities, as well as new
      options for youth evening recreation throughout the summer. Please visit
      the Town of Islip homepage at www.townofislip-ny.gov to download a
      bilingual flyer about these recreation alternatives.

      ENSURING INTERGRITY OF ALL TOWN PARKS

      The Town is committed to providing all Islip residents with parks that are
      safe and secure, and we have authorized our environmental consultant to
      assess each of Islip’s 119 parks. The review process is 75% complete,
      and the Town anticipates
Case 2:18-cv-03549-GRB-ST      an assessment
                          Document   39-21 Filedreport from
                                                 03/01/19   our 4consultant
                                                          Page    of 7 PageIDin#: 627
      the coming days which will allow us to address any concerns in any other
      Islip Town park.

      WHAT YOU MAY SEE HAPPENING AT THE PARK

      Over the last several weeks, the fields at the park have been sprayed
      daily with approximately 7,000 gallons of water, as an accepted dust
      control measure recommended by both the New York State Department
      of Health and the Suffolk County Department of Health. Dust control
      measures will continue until the clean up process is complete. Air testing
      may continue as well. In the coming months, additional activity will occur
      at the park, as the Town prepares to remove illegally dumped materials.
      In addition, the mowing of grass will take place to minimize fire hazards.
      We sincerely appreciate your patience and understanding throughout the
      investigation process and our future remediation. We are eager to restore
      Roberto Clemente Park and transform this important recreational amenity
      to the pristine park that your community deserves.


      Sincerely,
      Councilman Anthony Senft, Jr.
      Councilman John Cochrane, Jr.
      Councilman Steve Flotteron
      Councilwoman Trish Bergin Weichbrodt



      PARQUE ROBERTO CLEMENTE, ACTUALIZACIÓN
      #4


      Apreciado residente:

      El ayuntamiento sigue comprometido en la comunicación directa con
      usted, a fin de mantenerlo(la) actualizado sobre el estado del parque
      Roberto Clemente, en tanto la investigación criminal llevada a cabo por el
      fiscal del distrito del Condado de Suffolk y el estudio interno del
      ayuntamiento de Islip continúan. Agradecemos su paciencia durante este
      tiempo.



      PRUEBAS DE AIRE

      Los resultados de la SEXTA semana de muestras de aire recolectadas a
      lo largo del perímetro del parque Roberto Clemente revelan que no hay
      presencia de asbesto en el aire. Las muestras de aire comenzaron
      inmediatamente después del descubrimiento de contaminantes y
      escombros de construcción ubicados de manera ilegal en el parque. Las
      muestras de aire han sido llevadas a cabo según una variedad de
      condiciones climáticas, y cada prueba que se ha tomado durante las
      últimas seis semanas ha mostrado que no hay asbesto en el aire.
Case 2:18-cv-03549-GRB-ST Document 39-21 Filed 03/01/19 Page 5 of 7 PageID #: 628
      PREOCUPACIONES DE SALUD

      El ayuntamiento ha estado comunicándose regularmente, y continuará
      haciéndolo, con el Departamento de Salud del Condado de Suffolk a fin
      de determinar cuestiones de salud pública. Los residentes deben llamar al
      Departamento de Salud directamente al 631-787-2200, o
      visitarwww.suffolkcountyny.gov para obtener información adicional
      acerca de preocupaciones relacionadas con el asbesto o con otra
      información de salud pública.



      SANEAMIENTO DEL PARQUE

      Después de que el fiscal del distrito nos informara de otros
      contaminantes peligrosos también dejados ilegalmente en el parque
      Roberto Clemente, la Junta de Gobierno local tomó acción inmediata a fin
      de permitir el rápido saneamiento del parque, así como la reconstrucción
      de sus campos de juego. Un bono para efectos de saneamiento de 6
      millones de dólares fue aprobado únanimemente por la Junta. Este bono
      sumará en el fondo de financiación del saneamiento. Es posible que se
      necesiten enmiendas adicionales a nuestra legislación una vez se
      complete un plan de limpieza aprobado. Enviroscience, un consultor
      medioambiental independiente, continuará asesorando al ayuntamiento
      en cada paso del camino. Por las últimas cinco semanas, el ayuntamiento
      se ha comunicado de manera rápida y consistente con el Departamento
      de Conservación Ambiental del estado de Nueva York, el Departamento
      de Salud del estado de Nueva York, el Departamento de Trabajo del
      estado de Nueva York, el Departamento de Salud del condado de Suffolk,
      la Autoridad de Recursos Hídricos del condado de Suffolk, y
      continuaremos sosteniendo reuniones regulares con estas agencias
      reguladoras en tanto trabajamos para desarrollar una estrategia que
      permita retirar rápidamente el material y abrir de nuevo, y de manera
      segura, el parque Roberto Clemente.



      Estimación aproximada del tiempo de limpieza:

         ·    45 días para el desarrollo de un plan de medidas correctivas de
             parte de Enviroscience(quedan 30 días para este plazo)

         ·    4 semanas para recibir aprobación del plan de parte de NYSDEC,
             NYSDOL, con comentarios y recomendaciones de NYS y los
             Departamentos de Salud del condado de Suffolk y de la Autoridad de
             Recursos Hídricos del condado de Suffolk.

         ·    3-4 semanas para asegurar un contratista(s) que esté en capacidad
             de retirar el material de manera segura y responsable, de
             conformidad con el plan aprobado, del parque hasta los sitios
             apropiados de eliminación.

         ·    4 meses para el retiro completo de todos los materiales ilegalmente
          vertidos del parque.
Case 2:18-cv-03549-GRB-ST      Este periodo
                            Document  39-21 de  tiempo
                                             Filed      finalizará
                                                   03/01/19  Page 6 of 7 PageID #: 629
           aproximadamente el 1 de enero de 2015.
                                  ero




      RECONSTRUCCIÓN DEL PARQUE

      Tal y como lo prometió, el ayuntamiento se enfocará en el reemplazo de
      los campos de fúbol en el parque Clemente, después de que toda la
      limpieza necesaria sea completada. De manera simultánea, el
      ayuntamiento volverá a sus planes originales de rehabilitar la pisicna y el
      sistema de filtración del parque Clemente, tal y como se había planeado
      para este verano. El ayuntamiento sigue comprometido con la mejora de
      las piscina y el parque Roberto Clemente. Cerca de 2 millones de dólares
      en financiación han sido asignados para este proyecto, y seguirán
      dedicados a la rehabilitación de la piscina y su sistema de filtración.



      ALTERNATIVAS DE RECREACIÓN PARA LAS FAMILIAS DE
      BRENTWOOD MIENTRAS EL PARQUE ESTÁ CERRADO

      El ayuntamiento sigue comprometido en devolverle el parque Roberto
      Clemente a la gente de Brentwood, de una manera segura y responsable,
      y reconocemos los inconvenientes para la recreación en vista de que el
      parque permanecerá cerrado durante el verano. Hemos trabajado
      rápidamente con los trabajadores del ayuntamiento, el distrito escolar de
      Brentwood, los líderes comunitarios y la organización juvenil sin fines de
      lucro en el diseño de un plan completo a fin de ofrecerles a los residentes
      de todas las edades la diversión y las actividades divertidas de verano
      que legítimamente merecen. Este programa incluye transporte gratuito
      para las familias de Brentwood a piscinas, parques y programas
      juveniles, tarifas reducidas para piscinas, oportunidades de alimentación,
      así como nuevas opciones de recreación en las tardes para los jóvenes a
      lo largo del verano. Por favor visite la página web del ayuntamiento de
      Islip,www.townofislip-ny.gov, para descargar un folleto bilingüe
      acerca de estas alternativas de recreación.

      INTEGRIDAD DE TODOS LOS PARQUES DE ISLIP

      El ayuntamiento está comprometido con proporcionarles a todos los
      residentes de Islip parques seguros, y hemos autorizado a nuestro
      consultor medioambiental para evaluar cada uno de los 119 parques de
      Islip. Este proceso de estudio está completo en un 75%, y el
      ayuntamiento anticipa un informe de evaluación de nuestro consultor en
      los días venideros, que nos permitirá hacer frente a las inquietudes o
      preocupaciones que surjan de cualquier otro parque en Islip.



      ES POSIBLE QUE USTED VEA LO SIGUIENTE EN EL PARQUE

      En las últimas semanas, los campos del parque han sido regados
      diariamente con aproximadamente 7.000 galones de agua, como medida
      de control del polvo aceptada y recomendada por los Departamentos de
      Salud del estado de Nueva
Case 2:18-cv-03549-GRB-ST         York
                            Document   y del Filed
                                     39-21   condado    de Suffolk.
                                                   03/01/19 Page 7 Las   medidas
                                                                    of 7 PageID #: de
                                                                                   630
      control del polvo continuarán hasta que el proceso de limpieza esté
      completo. Las pruebas de aire también continuarán. En los meses por
      venir, habrá actividades adicionales en el parque, en tanto el
      ayuntamiento se prepara para retirar todos los materiales que
      ilegalmente se han vertido en este. Además, habrá actividades de corte
      de césped para minimizar riesgos de incendio.

      Sinceramente apreciamos su paciencia y comprensión a lo largo del
      proceso de investigación y en nuestras actividades futuras de
      saneamiento. Estamos ansiosos por recuperar el parque Roberto
      Clemente y transformar esta importante espacio de recreo en el parque
      prísitno que su comunidad merece.



      Atentamente,

      Concejal Anthony Senft, Jr.

      Concejal John Cochrane, Jr.

      Concejal Steve Flotteron

      Concejal Trish Bergin Weichbrodt




      PLEASE NOTE: This email was distributed via the email distribution list.

      As a result, you are unable to reply directly to this message.
      If you wish to edit your email address or unsubscribe, please click here.

      6/17/2014 3:26 PM
      http://schoolsites.schoolworld.com/schools/townofislip

      -msg17317-
